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7
8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
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11     ERIC WEBER and BRYAN REES,                     Case No. CV 17-8868-GW(Ex)
12     individually and on behalf of all others
       similarly situated,
13                                                    ORDER GRANTING PLAINTIFF
                   Plaintiffs,                        ERIC WEBER’S REQUEST TO FILE
14                                                    TWO-PAGE SURREPLY IN
       v.
15                                                    OPPOSITION TO AMAZON’S
       AMAZON.COM, INC. and AMAZON                    MOTION TO COMPEL
16                                                    ARBITRATION AND DISMISS
       SERVICES LLC,
17                                                    CLAIMS
                   Defendants.
18
                                                      Date:           June 4, 2018
19                                                    Time:           8:30 a.m.
20                                                    Courtroom:      9D
                                                      Judge:          Hon. George H. Wu
21                                                    Trial Date:     None Set
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                [PROPOSED] ORDERING GRANTING PLAINTIFF’S REQUEST TO FILE SURREPLY
     Case 2:17-cv-08868-GW-E Document 49 Filed 05/30/18 Page 2 of 2 Page ID #:625



1           On May 27, 2018, Plaintiffs filed a Request to File Two-Page Surreply in
2 Opposition to Amazon’s Motion to Compel Arbitration and Dismiss Claims. Dkt. 46.
3 The Court finds that Defendant’s supplemental briefing raised new arguments that
4 warrants the filing of a surreply. The request to file a surreply is hereby GRANTED.
5 Plaintiffs shall file the surreply within three court days of the date of this Order.
6           IT IS SO ORDERED.
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8 Dated: May 30, 2018
9                                                    Honorable George H. Wu
10                                                   United States District Judge
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                [PROPOSED] ORDERING GRANTING PLAINTIFF’S REQUEST TO FILE SURREPLY
